Case 4:06-cr-00182 Document 446 Filed on 07/01/15 in TXSD Page 1of5

AO 245B (Rev. 09/08) Judgment in a Criminal Case
Sheet |

 

UNITED STATES DISTRICT COURT

Southern District of Texas
Holding Session in Houston

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.
EDILBERTO PORTILLO
A/K/A Beto, Canas, Canario CASE NUMBER: 4:06CR00182-001
USM NUMBER: 56218-179
See Additional Aliases. JoAnne Marie Musick
THE DEFENDANT: Defendant's Attorney

pleaded guilty to count(s) 1 on May 19, 2009.

C) pleaded nolo contendere to count(s)
which was accepted by the court.

(1 was found guilty on count(s)
after a plea of not guilty.

 

 

The defendant is adjudicated guilty of these offenses:

 

 

Title & Section Nature of Offense Offense Ended Count
21 U.S.C. §§ 846, Conspiracy to possess with intent to distribute five (5) kilograms or more —_ 05/22/2006 1

841 (a)(1), (b)U)(A)(i) ~—soof a mixture and substance containing a detectable amount of cocaine

C1 See Additional Counts of Conviction.

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984,

The defendant has been found not guilty on count(s)

 

Count(s) remaining 0 is are dismissed on the motion of the United States.

 

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

June 29, 2015
Date of Imposition of Judgment

SSS 4

 

Signature of Judge
LYNN N. HUGHES

UNITED STATES DISTRICT JUDGE
Name and Title of Judge

WOE 1, Bio

Date U

NGC |NGC
Case 4:06-cr-00182 Document 446 Filed on 07/01/15 in TXSD Page 2 of 5

AO 245B (Rev. 09/08) Judgment in a Criminal Case
Sheet 1B

€ Judgment -- Page 2 of 5
DEFENDANT: EDILBERTO PORTILLO
CASE NUMBER: 4:06CR00182-001

 

ADDITIONAL ALIASES

The Court notes the following alias(es) are manifested on the defendant's Indictment:

Edilberto Portillo-Mendoza

 
 

Case 4:06-cr-00182 Document 446 Filed on 07/01/15 in TXSD Page 3 of 5

AO 245B (Rev. 09/08) Judgment in a Criminal Case
Sheet 2 -- Imprisonment

 

Judgment -- Page 3 of 5
DEFENDANT: EDILBERTO PORTILLO

CASE NUMBER: 4:06CR00182-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a

total term of time served.
This term consists of TIME SERVED as to Count 1.

[1 See Additional Imprisonment Terms.

CO The court makes the following recommendations to the Bureau of Prisons:
[) The defendant is remanded to the custody of the United States Marshal.
O

The defendant shall surrender to the United States Marshal for this district:
O at Clam. () p.m. on

C1 as notified by the United States Marshal.

CO The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
(1) before 2 p.m. on

C) as notified by the United States Marshal.

 

0) as notified by the Probation or Pretrial Services Office.

 

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
 

Case 4:06-cr-00182 Document 446 Filed on 07/01/15 in TXSD Page 4of5

AO 245B (Rev. 09/08) Judgment in a Criminal Case
Sheet 5 -- Criminal Monetary Penalities

Judgment -- Page 4 of 5
DEFENDANT: EDILBERTO PORTILLO

CASE NUMBER: 4:06CR00182-001

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
Assessment Fine Restitution
TOTALS $100.00

C1 See Additional Terms for Criminal Monetary Penalties.

J The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C)
will be entered after such determination.

(1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal payees must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage

[1] See Additional Restitution Payees.
TOTALS $0.00 $0.00

OC Restitution amount ordered pursuant to plea agreement $

(‘The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

C) The court determined that the defendant does not have the ability to pay interest and it is ordered that:
LO the interest requirement is waived for the () fine (1 restitution.
(1 the interest requirement for the (0 fine 0 restitution is modified as follows:

Based on the Government's motion, the Court finds that reasonable efforts to collect the special assessment are not likely to be effective.
Therefore, the assessment is hereby remitted.

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
 

Case 4:06-cr-00182 Document 446 Filed on 07/01/15 in TXSD Page 5of5

AO 245B (Rev. 09/08) Judgment in a Criminal Case
Sheet 6 -- Schedule of Payments

Judgment -- Page 5 of 5
DEFENDANT: EDILBERTO PORTILLO
CASE NUMBER: 4:06CR00182-001

SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
A (© Lump sum payment of due immediately, balance due
O not later than or

 

OC inaccordance with 0 c, O b, OE, or C1 F below; or

B [1 Payment to begin immediately (may be combined with 1 c, 0D, or O F below); or

C CO Payment in equal installments of over a period of , to commence days
after the date of this judgment; or

D (C Payment in equal installments of over a period of , to commence days
after release from imprisonment to a term of supervision; or

E (©) Payment during the term of supervised release will commence within days after release from imprisonment. The court
will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F (2 Special instructions regarding the payment of criminal monetary penalties:

Payable to:
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

OJ Joint and Several

Case Number

Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropriate

1 See Additional Defendants and Co-Defendants Held Joint and Several.
C The defendant shall pay the cost of prosecution.

C) The defendant shall pay the following court cost(s):

The defendant shall forfeit the defendant's interest in the following property to the United States:
As set forth in the order of forfeiture executed by this Court on June 29, 2015.

D1 See Additional Forfeited Property.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
